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660 South Figueroa Street, Suite 2300

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David N. Makous, SBN 82409

Matthew J. Soroky, SBN 25 8230

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Attorne s for Plaintiffs, U.S. Marine Surveyors, Inc.
and U. . Vessel Documentation, and
Counter-Defendants John Soria and Websites Depot, Inc.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

U.S. MARINE SURVEYORS, INC., a CASE NO.: 2116~cV-05360-PA- FFM
California corporation; U.S. VESSEL

DOCUMENTATION, a California SCHEDULING CONFERENCE
corporation, REPORT
Plaintiffs, Conference: October 17, 2016
Time: 10:30 a.m.
Court: 15
VS' Judge: Hon. Percy Anderson

EDWARD RIENER, an individual;
EDWARD RIENER D.B.A.
ELEMENTAL WEB DESIGN, an
unknown entity,

Defendants.

 

AND RELATED COUNTERCLAIMS

 

 

 

 

 

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Pursuant to Fed. R. Civ. P. 26(f), Local Rule 26-1, this Court’s Standing
Order (Dkt. 10) Order Scheduling Meeting of Counsel and Scheduling
Conference (Dkt. 42), and Order Granting Joint Stipulation to Continue the
Scheduling Conference (Dkt. 60), Plaintiffs U.S. Marine Surveyors, Inc.
(“USMS”) and U.S. Vessel Documentation (“USVD”), Counter-Defendants John
Soria (“Soria”) and Websites Depot, Inc. (“WDI”) (collectively, “Plaintiffs”), on
the one hand, and Defendants Edward Riener and Edward Riener d.b.a Elemental
Web Design (“Riener”), on the other hand (collectively the “Parties”), have
conferred and respectfully submit this Joint Rule 26(D Report.

SYNOPSIS OF PRINCIPAL ISSUES
A. Plaintiffs’ Statement

Plaintiffs allege that Riener, their former web designer, engaged in a
calculated and premeditated scheme to hij ack Plaintiffs’ thriving marine surveyor
and Vessel documentation businesses and to commit brazen identity theft by now
holding out to the public that Plaintiffs’ web-based businesses were his own,
while fully concealing the theft/conversion When Plaintiffs advised Riener that
they were switching web administrators, Riener demanded that he immediately be
paid $50,000 (a concededly made-up extortionary amount) from Plaintiffs or else
he would Shut down their websites, including vesseldocumentation.us. Plaintiffs
refused to pay and Plaintiffs were fully shut down within hours of Riener’s threat.
Over the next few days, Riener proceeded to completely convert their businesses
to his own - lock, stock, and barrel.

Plaintiffs have alleged 15 claims against Riener arising out of his unlawful
conduct. The principal issues in the case are as follows:

l. Whether Plaintiffs or Riener own the copyright in the web content

displayed on www.vesseldocumentation.us, and thus, whether Riener
infringed on the copyright when he operated the VD Website under the

name “BOAT DOCUl\/IENTATION US”.

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2. Whether Plaintiffs or Riener own the domain name
www.vesseldocumentation.us.

3. Whether Riener committed cybercrimes in violation of California
Penal Code section 502 when he admittedly “decided to operate the
website himself and turn it into his own vessel documentation business
(See Dkt. 33 [Counter-Complaint], 1125).

4. Whether Riener unlawfully converted Plaintiffs’ business.

5. Whether Riener’s use of BOAT DOCUMENTATION US on the VD
Website falsely represented himself as Plaintiffs to actively mislead the

public in violation of the Lanham Act, Section 43 (a).

6. Whether Riener interfered with Plaintiffs’ contracts and prospective
customers.

7. Whether Riener misappropriated Plaintiffs’ trade secrets.

8. Whether Riener engaged in a “clicl< fraud” scheme.

9. Whether Riener’s actions amount to a violation of applicable unfair

competition laws.

10. Whether Riener breached the Web Development Agreement and
amendments thereto by failing and refusing to transfer Plaintiffs access
to the marine surveyor and vessel documentation websites.

ll. Whether Riener defrauded Plaintiffs when he promised Plaintiffs
that he would register the domain name for the vessel documentation
business in Plaintiffs’ name, but unbeknownst to Plaintiffs he registered
the vessel documentation Site in his own name.

Plaintiffs intend to f11e a motion for summary judgment, or alternatively,
summary adjudication in their favor as to these issues. Plaintiffs also intend to
file motions to leave to amend their pleadings, for contempt of Court for Riener’s
violations of the TRO and preliminary injunction, for terminating sanctions, and

for an order modifying the preliminary injunction to prohibit Riener from

 

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engaging in any business involving submission of consumer’s vessel application
or documentation forms to the U.S. Coast Guard, National Vessel Documentation
Center, on the customer’s behalf.

In addition, Riener has asserted 7 counterclaims against Plaintiffs, Soria
and WDI, claiming that Riener entered into a partnership with USVD and is
therefore entitled to receive a share of income from Plaintiffs’ vessel
documentation business. Plaintiffs deny the existence of any partnership with
Riener. USVD was not in existence at the time of the alleged oral contract.
Riener could not have entered into any agreement with an unformed entity.

Moreover, his claim lacks the requisite definiteness as to all terms, such
that there is no remedy. Riener is conflating a personal arrangement with Soria to
split commissions on referrals for yacht sales clients with Plaintiffs’ entire
documentation business. Plaintiffs treated Riener and he was like a part-time
agent who had no participation in directing or managing Plaintiffs’ business.
Plaintiffs paid him in full for all of his services in establishing the
vesseldocumentation.us domain name and web content. The Court has already
noted that Riener has failed to prove nonpayment

Plaintiffs also contend that the counterclaims for copyright infringement
and tortious interference fail because Plaintiffs’ temporary website
www.uscgdocumentation.us is not infringing, and Riener lacks standing to sue.

Plaintiffs, Soria and WDI intend to file a motion for summary judgment, or
alternatively, summary adjudication in their favor as to these issues.

B. Defendant’s Statement

Defendant alleges that Soria breached his partnership contract by not
following through with payment to Riener for his numerous months of work on
the VD website. Riener was promised a seven-digit bank account and a
partnership role in the company for his continued efforts building the Vessel

Documentation, Inc. ‘online empire.’ lt was only after numerous months of

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insufficiently paid work that Riener came to the conclusion that Soria had
misrepresented his partnership agreement, and decided to take action. After
frequent threats and harassment from Soria, Riener disabled the website-portion
of the business. His portion of the partnership involved the online presence, and
Riener lacked the ability to shut down the entire business. In an attempt to settle
without conflict, Riener offered to sell the rights to the website to Soria for a very
reasonable amount, one that Soria could afford, and offered to dissolve the
partnership. Soria refused, and hired a third-party web developer to unlawfully
duplicate the copyrighted website and operate it independently of Riener.

Defendants have alleged 7 claims against Plaintiffs arising out of their

unlawful conduct. The principal issues in the case are as follows:

l. Whether Plaintiffs breached the oral contract of a partnership
between Soria, U.S. Vessel Documentation, Inc. and Riener in exchange
for continuous service building the VD website and additional websites.

2. Whether Plaintiffs committed fraud by intentionally misrepresenting
to Riener that he would be “guaranteed a seven figure bank account” for
his efforts in building the partnership’s assets.

3. Whether Plaintiffs committed willful copyright infringement by
constructing and operating a separate website duplicated by “scanning
and taking screenshots” of the VD website.

4. Whether Plaintiffs committed intentional interference with
prospective economic advantage against Boat Documentation US.

5. Whether Soria declared Riener a partner of the vessel documentation
business.

6. Whether Riener exclusively owns the copyrights to the VD website.

7. Whether Riener is entitled to an accounting of the funds that have
been diverted away from the partnership for Plaintiff’s pecuniary

benefit.

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Defendant intends to file a motion to amend pleadings to add the necessary
parties and a cause of action for defamation against John Soria, as he has been
defaming Defendant to his customers and employer. There have been numerous
calls into Riener’s employer’s office and to Riener’s previous web design clients
by a representative claiming that the individuals’ website has the risk of being
hijacked or stolen by Riener.

Moreover, all claims of Plaintiff regarding a simple agreement to split
commissions on referrals for yacht sales clients are without merit. There is simply
no way to obtain a “seven-digit bank account” through yacht sales commissions,
specifically a 50% split of those commissions Soria made numerous statements
and declared Riener a partner in ‘the empire’ that was being built by both parties.
Considering the vessel documentation website, built by Riener, was the largest
income generator of ‘the empire,’ it is reasonable to assume that this portion of
the partnership was included in the agreement

I. PARTIES

Subj ect to further discovery, the Parties anticipate that Plaintiffs will seek
to amend their pleading to add additional parties, including but not limited to
Sean Gorman and Jack Hennings, as defendants

Subject to further discovery, Defendant will seek to amend pleadings to
add the appropriate parties, including but not limited to John Soria and any other
entity associated with him.

II. DISCOVERY PLAN
A. Initial Disclosures

At the Rule 26(f) Conference of Counsel, the Parties agreed that the

disclosures required by Rule 26(a) be made on October 10, 2016.
B. Subjects on Which Discovery May be Needed
Plaintiffs intend to take discovery into, among other things, liability,

damages, affirmative defenses, and contractual obligations pursuant to Rule 30,

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Rule 33, Rule 34 and Rule 36. This includes discovery relating to each of the
issues identified above.

Plaintiffs also anticipate that they will require, pursuant to Rule 45, third
party depositions of (i) third party witnesses who Plaintiffs believe are aiding and
abetting Riener (including Allen Larson, Sean Gorman, and lack Hennings); (ii)
local third party customers who complained to Plaintiffs; (iii) Riener’s customers
whose identities are unknown to Plaintiffs at this time; (iv) the National Vessel
Documentation Center, United States Coast Guard, located in West Virginia, (v)
cellular phone providers, (vi) internet companies that were involved with hosting
website servers and/or email servers, and (viii) others whose importance may be
discovered through discovery.

Defendant intends to take discovery into, among other things, liability,
damages, affirmative defenses, and contractual obligations pursuant to Rule 30,
Rule 33, Rule 34 and Rule 36. This includes discovery relating to each of the
issues identified above.

Defendant anticipates that he will require depositions of U.S. Marine
Surveyors, Inc. U.S. Vessel Documentation, Inc. USCG Documentation, Inc.
John Soria, Maria Soria, J esse Rios, Zachary Johnson and Websites Depot, Inc.
representatives of the National Vessel Documentation Center( (i) Depositions of
customers of U.S. Vessel Documentation, Inc. customers of USCG
Documentation, Inc. customers of U.S. Marine Surveyors, Inc. customers of John
Soria (ii) others whose importance may be discovered through discovery.

The Parties agree that discovery should not be phased or otherwise limited
by issues.

The Parties’ proposed discovery dates are included in the Proposed Case
Schedule set forth below.

C. Discovery of Electronically Stored Information (“ESI”)

Plaintiffs’ counsel confirms that a legal hold notice has been issued to the

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relevant employees of USVD and USMS that would have discoverable
information concerning the subject matter of the Parties’ dispute.

The Parties have agreed that Rules 34 and 45 of the Federal Rules of Civil
Procedure will control ESI in this proceeding
D. Claims Relating to Privilege and the Confidentiality of Information

Per Paragraph 12 of the Parties’ Joint Stipulation and Order to Modify
Preliminary Injunction (Dkt. 56), the Parties agree to enter into a Stipulated
Protective Order governing (i) discovery and disclosure of the Parties’ financial
information and (ii) the use of Plaintiffs’ “emails, metadata and IT evidence.”
E. Changes to Limitations on Discovery or other Limitations

Plaintiffs have taken approximately four hours of Riener’s deposition
regarding the Court’s OSC Re: Preliminary Injunction. In light of subsequent
discoveries regarding Riener’s collaboration with third parties Larson, Gorman
and Hennings and Plaintiffs receiving access to the servers hosting their emails
addressed to and from their @vesseldocumentation.us email addresses, Plaintiffs
request another 7 hours for Riener’s deposition, totaling 11 hours. Plaintiffs have
offered Riener an additional 4 hours for Soria’s deposition in exchange.

Defendant disputes that there is a need for 7 additional hours after the
initial 4 hours; the deposition can be completed within the remaining 3 hours.
F. Additional Orders

At this time, the Parties do not anticipate the need for additional orders
under Rule l6(b) and (c) and Rule 26(c).

III. PROPOSED CASE SCHEDULE
The Parties propose that the Court adopt the following Case Schedule,

which includes dates for the disclosure of expert testimony and relevant motion

 

 

deadlines:
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Trial [Lury] [court] 8:30 Tuesday A ril 25, Jul 24,
Trials eld am 2 17 20 7
Hury] Hearing on 1:30 -1 A ril 18, Jul 19,
isputed pm Tuesday 2 17 20 7
LCourt trial File -1 A ril 18, Jul 17,
indings of act and Tuesday 2 17 20 7
Conclusions of Law

File Joint Deposition 13 days A ril 13, Jul 13,
Designation Thursday 2 17 20 7
Submission and

lodge pertinent depo

transcript

Jury/Court trial] 1130 -2 A ril 11, Jul 11,
caring on Motions pm Tuesday 2 17 20 7

in Limine

[Jury] Joint jury -3 A ril 4, Jul 5,
instructions; Tuesday 2 17 20 7
disputed jury

instructions to be

filed and emailed to

chambers in Word.

Pretrial Conference; 3:00 -4 March 28, June 27,
Proposed Voir Dire pm Tuesday 2017 2017
Q.s. Lodged; file

A reed-to Statement

0 Case; File Agreed

Verdict Forms;

EXchange

objections/response

to deposition

designations

Motions in Limine to -6 March 14, June 13,
be filed. Tuesday 2017 2017
odge Pretrial Conf. -6 March 14, June 13,
Order; File Memo of Tuesday 2017 2017
Contentions of Fact

and Law; Exhibit &

Witness Lists;

EXchange deposition

designations

Last date to file Joint -7 March 7, June 7, 2017
R]e)}i(l)rt regarding Tuesday 2017

A Proceeding

Last day for hearing 1:30 -9 Februa May 19,
motions pm Tuesday 20, 201 2017
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dispositive motions pm Tuesday 20, 201 2017
iscovery cut-off -10 Februa May 11,

Monday 13, 201 2017

ast Day to Februa May 18,
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Exchange Expert 30, 20 7 2 17
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Last to Amend October January 31,
Pleadings or Add 31, 2016 2017
Parties

 

 

 

 

 

 

 

 

IV. TRIAL

Plaintiffs request that a 3-day bench trial with a trial date to be set for iii or
before April 2017. Defendants propose that trial begin in or around July 2017
and requests a jury trial. Assuming H.ill trial days, the parties believe that a jury
trial can be completed within 6-7 trial days.

V. ALTERNATIVE DISPUTE RESOLUTI()N

Plaintiffs select ADR Procedure No. 3 (private mediation), in accordance
with General Order 11-10, § 5.1 and Local Rule 16-15.4. Defendants select ADR
Procedure No. 2 (Court’s Mediation Panel).

VI. MANUAL FOR COMPLEX LITIGATION

The case is not complex, nor does it require reference to the procedures set
forth in the Manual on Complex Litigation.

The Parties agree that counsel for Plaintiffs shall file this Joint Report on
the parties’ behalf The individuals whose electronic signatures are listed below
have each concurred in the filing’s content and have authorized the filing.

DATED: October 3, 2016 LEE, HONG, DEGERMAN, KANG & WAIMEY

By: /s/ David N. Makous

David N. Makous
Attorneys for Plaintiffs, U.S. Marine Surveyors,
Inc. and U._S. Vessel Documentation, and
Counter-Defendants John Soria and Websites

Depot, Inc_ DOCUSigned by.
DATED: October 3, 2016 W__`
By= _EZBBLBQ.MBT

Edward Riener
Appearing Pro Se for Defendants EdWard Riener
and Edward Riener d.b.a Elemental Web Design

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PROOF OF SERVICE
1, Sharon Cunningham, declare as follows:

1 am employed in the County of Los Angeles, State of Califomia. by the law firm of
Lee, Hong, Degerman, Kang & Waimey (the “Firm”). I am over the age of 18 years and
not a party to the within action. My business address is 660 South Figueroa Street, Suite
2300, Los Angeles, CA 90017.

1 served a true copy of the document named below via U.S. MAIL on the person
and/or entities noted herein. Each sealed envelope was placed for collection and mailing
on the date noted. I am “readily familiar” with this firm’s business practice for the
collection and processing of correspondence for mailing with the United States Postal
Service. Correspondence so collected and processed is deposited with the United States
Postal Service that same day with postage thereon fully prepaid at Los Angeles, Califomia.
1 am aware that on motion of the party served, service is presumed invalid if postal

 

cancellation date or postage meter date is more than one day after date of deposit for
mailing in affidavit
DATE OF SERVICE: October 3, 2016
DOCUMENT SERVED: SCHEDULING CONFERENCE
REPORT PER JOINT RULE 26(F)
PARTY SERVED: EdWard Riener
4200 Chino Hills Pkwy #135
Chino Hills, CA 91709

Phone: 850-390-0609

 

 

 

[ ] (State) 1 declare under penalty of perjury under the laws of the State of
California that the above is true and correct.

[X] (Federal) 1 declare that I am employed in the office of a member of the bar of
this court at whose direction the service was made.

Executed on October 3 2016, at Los Angeles, Califomia.

 

/s/Sharon Cunningham
Sharon Cunningham

 

PROOF OF SERV|CE

 

 

